                 Case 1:21-cr-02003-SMJ             ECF No. 13           filed 01/21/21      PageID.24 Page 1 of 1
AO 442 (Rev. 11/11) Arrest Warrant



                                        UNITED STATES DISTRICT COURT
                                                                   for the                                            FILED IN THE
                                                                                                                  U.S. DISTRICT COURT
                                                                                                            EASTERN DISTRICT OF WASHINGTON
                                                    Eastern District
                                                 __________  Districtof of
                                                                        Washington
                                                                           __________
                                                                                                             Jan 21, 2021
                  United States of America                                                                        SEAN F. MCAVOY, CLERK
                             v.                                      )
                                                                     )        Case No.     1:21-CR-2003-SMJ-1
                     LAVANDER YAHTIN                                 )
                                                                     )
                                                                     )
                                                                     )
                            Defendant


                                                     ARREST WARRANT
To:      Any authorized law enforcement officer

         YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                           LAVANDER YAHTIN                                                    ,
who is accused of an offense or violation based on the following document filed with the court:

✔ Indictment
’                         ’ Superseding Indictment           ’ Information       ’ Superseding Information              ’ Complaint
’ Probation Violation Petition           ’ Supervised Release Violation Petition            ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:
  18 USC 1915(a) ROBBERY AFFECTING COMMERCE
  18 USC 1153, 113(a)(3) ASSAULT WITH A DANGEROUS WEAPON
  18 USC 924(c)(1)(A)(iii) DISCHARGING A FIREARM DURING AND IN RELATION TO A CRIME OF VIOLENCE




Date: Jan 12, 2021, 11:43 am
                                                                                             Issuing officer’s signature

City and state:      Spokane, Washington                                          Sean F. McAvoy, Clerk of Court/DCE
                                                                                               Printed name and title


                                                                   Return

           This warrant was received on (date)     1/12/21               , and the person was arrested on (date)           1/15/21
at (city and state)  Spokane, WA                               .
                                                                    Arrested within the E/WA
                                                                          FBI
                                                                    BY:_______________________
Date: 1/15/21
                                                                            (Agency)      Arresting officer’s signature
                                                                                  1/15/21
                                                                    Executed On:_______________
                                                                          Reagan K. Havey, USMS
                                                                    Sign:______________________
                                                                                               Printed name and title
